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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI

In Re:                                                         )
                                                               )
David J. Rice, Debtor                                          )
                                                               )   Case No. 18-40777-705
Bayview Loan Servicing, LLC., Creditor                         )
                                                               )   Chapter: 7
vs.                                                            )
                                                               )
David J. Rice, Debtor                                          )
                                                               )
and                                                            )
                                                               )
Tracy A. Brown, Trustee                                        )

             NOTICE OF WITHDRAWAL OF LIMITED OBJECTION TO MOTION TO SELL


         Bayview Loan Servicing, LLC., (“Creditor”), and gives notice of its withdrawal of the Limited

Objection to Motion to Sell filed on September 17, 2019.



SOUTHLAW, P.C.
____/s/Lisa C. Billman_________________________________
Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
Wendee Elliott-Clement (MBE #50311; KS #20523)
Lisa C. Billman (MBE #64535, KS #25177)
13160 Foster Suite 100
Overland Park, KS 66213-2660
(913) 663-7600
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moedbknotices@southlaw.com
ATTORNEYS FOR CREDITOR




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                                 CERTIFICATE OF MAILING/SERVICE


I certify that a true and correct copy of the foregoing document was filed electronically on November 1,
2019, with the United States Bankruptcy Court, and has been served on the parties in interest via email by
the Court’s CM/ECF System as list on the Court’s Electronic Mail Notice List.

I certify that a true and correct copy of the foregoing document was filed electronically with the United
States Bankruptcy Court, and has been served by Regular United States Mail Service, first class, postage
fully pre-paid, addressed to the parties listed below on November 1, 2019.



David J. Rice
2105 Foggy Bottom Drive
Florissant, MO 63031
DEBTOR


SOUTHLAW, P.C.
_/s/ Lisa C. Billman                       ____________
Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
Wendee Elliott-Clement (MBE #50311; KS #20523)
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